        Case 5:22-cv-05041-SVK Document 1 Filed 09/06/22 Page 1 of 8




 1   Howard N. Wollitz, SBN 58674
     WILLIAMS & WOLLITZ PC
 2   1539 Westwood Blvd., Second Floor
     Los Angeles, California 90024
 3   (310) 801-7185
     hwollitz@wwlawcorp.com
 4
     Attorneys for Plaintiff
 5   KEMPER INDEPENDENCE INSURANCE
     COMPANY
 6

 7

 8                        UNITED STATES DISTRICT COURT
 9                    NORTHERN DISTRICT OF CALIFORNIA
10

11   KEMPER INDEPENDENCE                       Case No. 5:22-cv-05041
     INSURANCE COMPANY, an Illinois
12   corporation,                              COMPLAINT OF KEMPER
                                               INDEPENDENCE INSURANCE
13                Plaintiff,                   COMPANY FOR DECLARATORY
                                               RELIEF; EQUITABLE INDEMNTY
14          v.
15   HOMELAND INSURANCE
     COMPANY OF NEW YORK, a New
16   York corporation
17                Defendant.
18

19

20
           Plaintiff KEMPER INDEPENDENCE INSURANCE COMPANY

21
     (“KEMPER”) for its Complaint for declaratory relief, equitable contribution, and

22
     equitable indemnity alleges:

23

24

25

26

27

28
                                          1
                                Complaint for Declaratory Relief
        Case 5:22-cv-05041-SVK Document 1 Filed 09/06/22 Page 2 of 8




 1                                           THE PARTIES
 2         1.     At all times herein mentioned, KEMPER was and is a corporation
 3   organized and existing under the laws of the State of Illinois, with its principal
 4   place of business in Jacksonville, Florida. KEMPER does not have a substantial
 5   predominance of its corporate activities in the State of California. Its corporate
 6   “nerve center” is in Jacksonville, Florida. Thus, KEMPER is a resident and citizen
 7   of the State of Illinois, as well as of the United States.
 8         2.     At all times herein mentioned, defendant HOMELAND INSURANCE
 9   COMPANY OF NEW YORK (“HOMELAND”) was and is a corporation
10   organized and existing under the laws of the State of New York, with its principal
11   place of business in New York. Thus, HOMELAND is a resident and citizen of the
12   State of New York, as well as of the United States.
13                              JURISDICTION AND VENUE
14         3.     This is an action for a declaratory judgment pursuant to 28 U.S.C. §
15   2201 and Rule 57 of the Federal Rules of Civil Procedure.
16         4.     This Court has jurisdiction over the subject matter of this action
17   pursuant to 28 U.S.C. §1332(a)(1) in that the matter in controversy exceeds the sum
18   of $75,000, exclusive of interest and costs, and is between citizens of different
19   states, in that KEMPER is an Illinois corporation with its principal place of
20   business in Jacksonville, Florida, and thus is a citizen of the State of Illinois,
21   whereas defendant HOMELAND is a citizen of the State of New York. The matter
22   in controversy exceeds the sum of $75,000 based on the allegations in paragraphs
23   11 and 14 below.
24                               FACTUAL BACKGROUND
25                                         The Accident
26         5.     On June 7, 2014, Kyleean Cozzitorto Beltran was a passenger in an
27   American Sportsworks Trail Wagon TW400 4x2 utility vehicle driven by a minor
28   and suffered injuries and damages due to the alleged negligence various persons
                                              2
                                   Complaint for Declaratory Relief
        Case 5:22-cv-05041-SVK Document 1 Filed 09/06/22 Page 3 of 8




 1   and entities as alleged in an action entitled Kyleean Cozzitorto Beltran, a minor
 2   through her Guardian Ad Litem, Terri Copeland, plaintiff, v. Morgan Hill Unified
 3   School District; Live Oak High School; Erin Larrus; Live Oak Safe and Sober
 4   Grad Night, Inc.; Live Oak AG Boosters; Heidi Golden, and Does 1 to 50, Santa
 5   Clara County Superior Court Case No. 115CV276960, (“the Underlying Action”).
 6   A true and correct copy of the Second Amended Complaint in the Underlying
 7   Action is attached as Exhibit 1.
 8         6.     The events giving rise to the Underlying Action took place at Live Oak
 9   High School (LOHS) in the City of Morgan Hill on the morning of June 7, 2014,
10   after overnight graduation festivities were held on campus for graduating students
11   sponsored by HOMELAND’s named insured, Live Oak Safe and Sober Grad Night,
12   Inc. That morning, parents, at least one teacher, students and other volunteers were
13   cleaning up inside and outside the school's main gymnasium, as well as some
14   surrounding areas where activities had taken place.
15         7.     Heidi Golden, a defendant in the Underlying Action, was one of the
16   volunteer workers on campus that morning performing cleanup services for Live
17   Oak Safe and Sober Grad Night, Inc., without compensation.
18         8.     Students participating in the Future Farmers of America (“FFA”)
19   program maintained an area on LOHS's property, referred to as “the farm,” where
20   they raised farm animals and grew crops. One of the pieces of equipment used on
21   the farm, as well as during certain other school functions, was a four-wheel utility
22   vehicle. Commonly known to students and others as the “Mule,” the utility vehicle
23   had space to seat people and carry cargo.
24         9.     Among the LOHS students participating in the post-graduation
25   cleanup were Jessica Pfaendler, Casey Cowern, and Kyleean Cozzitorto Beltran, the
26   plaintiff in the Underlying Action. Pfaendler was 18 years old at the time. Cowern
27   was 14 years old. Beltran was 15 years old.
28
                                            3
                                 Complaint for Declaratory Relief
        Case 5:22-cv-05041-SVK Document 1 Filed 09/06/22 Page 4 of 8




 1         10.    At one point during the cleanup, Pfaendler approached Heidi Golden.
 2   Pfaendler asked if she could use the Mule. Heidi Golden gave Pfaendler
 3   permission to use the Mule stating to Pfaendler, “You, and only you.” When Heidi
 4   Golden gave Pfaendler permission to use the Mule, it was being used exclusively
 5   for purposes of Live Oak Safe and Sober Grad Night, Inc.’s cleanup activities and
 6   not for any purpose of the FFA.
 7         11.    After getting permission from defendant, Pfaendler went outside to the
 8   Mule; she was joined by Beltran and Cowern. Shortly thereafter, Cowern asked
 9   Pfaendler if she could try driving the Mule. Pfaendler agreed and the girls traded
10   seats. With Cowern at the wheel, the girls continued towards the farm. As Cowern
11   navigated a turn, the Mule flipped onto its side. All three girls were ejected from
12   the Mule, with Beltran ending up underneath it. Plaintiff sustained injuries as a
13   result which she is seeking to recover in the Underlying Action.
14         12.    KEMPER is informed and believes, and on that basis alleges, that at
15   no time was the Mule owned by Heidi Golden.
16                                           The Policies
17         13.    KEMPER has been defending Heidi Golden in the Underlying Action
18   since 2015 under Kemper Independence Insurance Company Policy Number RB
19   834217 issued to Mark and Heidi Golden for the policy period 12-29-2013 to 12-
20   29-2014 (“Kemper’s Policy”). The Mule was not a Covered Vehicle listed in the
21   Declarations to Kemper’s Policy.
22         14.    KEMPER has incurred not less than $200,000 in defense costs for the
23   defense of Heidi Golden in the Underlying Action as to which KEMPER had no
24   coverage obligation to Heidi Golden under Kemper’s Policy and which should have
25   been paid by HOMELAND.
26         15.    Defendant HOMELAND issued its Policy Number BW00003 to the
27   Education Support Purchasing Group for the policy period September 1, 2013, to
28   September 1, 2014 (“Homeland’s Policy”), a true and correct copy of which is
                                            4
                                 Complaint for Declaratory Relief
        Case 5:22-cv-05041-SVK Document 1 Filed 09/06/22 Page 5 of 8




 1   attached as Exhibit 2. On the Common Declarations Page of Homeland’s Policy,
 2   the Business Description of the Education Support Purchasing Group is “Education
 3   and School related Associations including Parent Teacher Associations (PTA’s),
 4   Parent Teacher Organizations (PTO’s) and Booster Clubs.”
 5         16.    KEMPER is informed and believes, and on that basis alleges, that the
 6   Education Support Purchasing Group is a Risk Purchasing Group, that is, a group
 7   formed in compliance with the Risk Retention Act of 1986 authorizing a group of
 8   insureds engaged in similar businesses or activities to purchase insurance coverage
 9   from a commercial insurer.
10         17.    KEMPER is informed and believes, and on that basis alleges, that on
11   June 7, 2014, and at all relevant times, Live Oak Safe and Sober Grad Night, Inc., a
12   California corporation, was an insured by HOMELAND. HOMELAND retained
13   and paid California legal counsel to defend Live Oak Safe and Sober Grad Night,
14   Inc., in the Underlying Action while wrongfully disclaiming coverage for Heidi
15   Golden.
16         18.    Homeland’s Policy provides under Section II – Who Is An Insured in
17   relevant part as follows:
18                1.     If you are designated in the Declarations as:
19                ...
                         d.    An organization other than a partnership, joint
20
                         venture or limited liability company, you are an
21
                         insured. . . .
22
                  ...
23
                  2.     Each of the following is also an insured:
24

25                       a.     Your "volunteer workers" only while performing
                         duties related to the conduct of your business . . . . However,
26
                         none of these “employees” or “volunteer workers” are insureds
27                       for:
28
                                              5
                                   Complaint for Declaratory Relief
        Case 5:22-cv-05041-SVK Document 1 Filed 09/06/22 Page 6 of 8



                               (1) “Bodily injury” or “personal and advertising
 1
                               injury”:
 2
                                      (a) To . . . your other “volunteer workers” while
 3
                                      performing duties related to the conduct of your
 4                                    business.
 5

 6
           19.    The Homeland Policy defines Volunteer Worker as follows:

 7
                        20. "Volunteer worker" means a person who is not
 8                      your "employee", and who donates his or her work
                        and acts at the direction of and within the scope of
 9
                        duties determined by you, and is not paid a fee,
10                      salary or other compensation by you or anyone
                        else for their work performed for you.
11
           20.    On July 6 and July 7, 2014, Heidi Golden was a “volunteer worker”
12
     for Live Oak Safe and Sober Grad Night, Inc., as that term is defined in
13
     Homeland’s Policy and she is, therefore, an insured under Homeland’s Policy as to
14
     the events giving rise to the Underlying Action. At all relevant times,
15
     HOMELAND has had a duty to defend Heidi Golden in the Underlying Action. As
16
     early as March 2015, demand was made that HOMELAND assume the defense of
17
     Heidi Golden in the Underlying Action and reimburse KEMPER for the defense
18
     costs incurred to date which should have been paid by HOMELAND.
19
     HOMELAND has rejected KEMPER’s demands and refused to defend Heidi
20
     Golden.
21
           21.    In support of its wrongful refusal to defend Heidi Golden in the
22
     Underlying Action, HOMELAND stated in a letter dated March 27, 2015, that the
23
     bodily injuries sustained by Beltran were bodily injuries to another “volunteer
24
     worker” of Live Oak Safe and Sober Grad Night, Inc.
25
           22.    On June 7, 2014, Beltran was not a “volunteer worker” for
26
     HOMELAND’S Named Insured, Live Oak Safe and Sober Grad Night, Inc.,
27
     because, in return for their work on the cleanup, she and all other children
28
                                            6
                                 Complaint for Declaratory Relief
        Case 5:22-cv-05041-SVK Document 1 Filed 09/06/22 Page 7 of 8




 1   participating in the cleanup, had been promised that their expenses for presentations
 2   at the upcoming county fair would be paid by the FFA booster’s organization.
 3         23.    As a result, Heidi Golden was at all times entitled to coverage as a
 4   “volunteer worker” for Live Oak Safe and Sober Grad Night, Inc. under
 5   Homeland’s Policy because the injuries sustained by Beltran were not bodily
 6   injuries to another “volunteer worker” of Live Oak Safe and Sober Grad Night, Inc.
 7                             FIRST CLAIM FOR RELIEF
 8                    (Declaratory Relief – Diversity Jurisdiction, 28 U.S.C. § 2201)
 9         24.    KEMPER refers to the foregoing paragraphs 1 through 23 and
10   incorporates the same herein by this reference.
11         25.    An actual controversy has arisen, and now exists, between KEMPER
12   and HOMELAND in that KEMPER contends and HOMELAND denies that Heidi
13   Golden is entitled to a defense under Homeland’s Policy as to the Underlying
14   Action because on June 7, 2014, Heidi Golden was a “volunteer worker” for
15   HOMELAND’s named insured, Live Oak Safe and Sober Grad Night, Inc.,
16   performing duties related to the business of Live Oak Safe and Sober Grad Night,
17   Inc., which gave rise to the Underlying Action.
18         26.    As a result, KEMPER seeks a declaration that HOMELAND has a
19   duty to assume the defense of Heidi Golden in the Underlying Action and to
20   reimburse KEMPER for the defense costs it has incurred for Heidi Golden which
21   should have been paid for by HOMELAND.
22                           SECOND CLAIM FOR RELIEF
23   (Equitable Indemnity – Diversity Jurisdiction, 28 U.S.C. § 2201, and Supplemental
24                             Jurisdiction, 28 U.S.C. 1367(a))
25         27.   KEMPER refers to the foregoing paragraphs 1 through 26 and
26   incorporates the same herein by this reference.
27         28.   At all times, HOMELAND was obligated under Homeland’s Policy to
28   defend and indemnify Heidi Golden as to the Underlying Action, but HOMELAND
                                            7
                                 Complaint for Declaratory Relief
        Case 5:22-cv-05041-SVK Document 1 Filed 09/06/22 Page 8 of 8




 1   wrongfully disclaimed any coverage obligation to Heidi Golden. As a result, and
 2   without any obligation to do so under Kemper’s Policy, KEMPER defended, and
 3   continues to defend, Heidi Golden in the Underlying Action, at a cost not less than
 4   $200,000.
 5         29.   KEMPER is entitled to equitable indemnity from HOMELAND for all
 6   defense costs incurred for the defense of Heidi Golden in the Underlying Action
 7   which defense costs should have been borne by HOMELAND.
 8         WHEREFORE, KEMPER prays for judgment as follows:
 9         1.    For a declaration that as the time of the accident giving rise to the
10               Underlying Action Heidi Golden was a “volunteer worker” for
11               HOMELAND’s named insured, Live Oak Safe and Sober Grad Night,
12               Inc., and HOMELAND has a duty to assume the defense of Heidi
13               Golden in the Underlying Action,
14         2.    For judgment in favor of KEMPER and against HOMELAND for all
15               defense costs KEMPER has incurred for Heidi Golden in the
16               Underlying Action which should have been paid for by HOMELAND,
17               according to proof but believed to be not less than $200,000, and
18         3.    For such other and further relief as the Court deems appropriate.
19                                          WILLIAMS & WOLLITZ PC
20

21
                                            By:   /s/ Howard N. Wollitz
22                                                Howard N. Wollitz
                                            Attorneys for Plaintiff
23
                                            KEMPER INDEPENDENCE INSURANCE
24                                          COMPANY
25

26

27

28
                                           8
                                Complaint for Declaratory Relief
